Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 1 of 10




            EXHIBIT 4
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 2 of 10
                          Richard A. Gorman

 1       IN THE UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2
      JOHN C. MONARCH, an             : CASE NO.
 3    individual; DIRECT              : 2:14-cv-05980-GAM
      OUTBOUND SERVICES               :
 4    LLC, a South                    :
      Carolina limited                :
 5    liability company,              :
           Plaintiffs                 :
 6                                    :
         vs.                          :
 7                                    :
      RICHARD A. GORMAN;              :
 8    GORMAN ECONOMICS,               :
      LLC, a Delaware                 :
 9    limited liability               :
      company, dba AT                 :
10    COST FULFILLMENT;               :
      LLC, VANGUARD                   :
11    ECONOMICS, LLC, a               :
      Georgia limited                 :
12    liability company,              :
      dba AT COST                     :
13    FULFILLMENT, LLC,               :
      dba                             :
14    FULFILLMENT.COM; AT             :
      COST                            :
15    NUTRACEUTICALS,                 :
      LLC, a Georgia                  :
16    limited liability               :
      company; BRAND.COM,             :
17    INC., a                         :
      Pennsylvania                    :
18    Corporation; JOHN               :
      DOE 1; JOHN DOE 2;              :
19    and JOHN DOE 3,                 :
           Defendants                 :
20
                             - - -
21                   Thursday, May 5, 2016
                             - - -
22
23            GOLKOW TECHNOLOGIES, INC.
        877.370.3377 ph | 917.591.5672 fax
24                 deps@golkow.com
Golkow Technologies, Inc.                                        Page 00001
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 3 of 10
                          Richard A. Gorman

 1                Q.       So you believe, I think you
 2      testified earlier, correct me if I am
 3      wrong, that you believe Mr. Monarch is
 4      this person that goes by Ilya or Ilya
 5      BLT; is that correct?
 6                A.       I believe that through the
 7      discovery in the lawsuit that I filed as
 8      did Mr. Monarch in his countersuit that
 9      Mr. Monarch is deeply involved and
10      actively or was actively involved in
11      using that fake name or alias if you
12      will.
13                Q.       So you think, I'll just call
14      him Ilya because I'm really not sure of
15      his name, so you believe Ilya and Mr.
16      Monarch is the same person?
17                A.       Well, I do.
18                Q.       And as you sit here today,
19      you currently believe that?
20                A.       Mr. Warner, I think that all
21      of the evidence, the circumstantial
22      evidence points that Mr. Monarch who, you
23      know, who utilizes lots of different
24      aliases and, you know, pseudonyms and
Golkow Technologies, Inc.                                            Page 92
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 4 of 10
                          Richard A. Gorman

 1      screen names on the Internet, I believe
 2      that this Ilya, you know, alias or
 3      pseudonym if you will is certainly
 4      someone that -- or an alter ego of Mr.
 5      Monarch's and he was invited to a private
 6      dinner by this Ilya who goes by Ilya
 7      Putin, Ilya Syanov, Ilya BLT and but yet
 8      doesn't really know who this person is
 9      and goes to a private dinner with him and
10      has his company logo, has the most
11      prominent logo listed on this Ilya
12      website and it just so happens that I
13      think every person, just about every
14      person that this Ilya person had attacked
15      on PerformOutsider through our discovery
16      it looks like Mr. Monarch has also
17      attacked or contributed or opined when
18      that person was being attacked in a
19      sarcastic manner.
20                         You know, it's odd that all
21      of these other banners we found in
22      discovery, you know, Greenville, South
23      Carolina, a placed that I mean is for the
24      Internet marketing world is really is
Golkow Technologies, Inc.                                            Page 93
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 5 of 10
                          Richard A. Gorman

 1                objection.
 2                         MR. WARNER:         Please keep it
 3                to form.
 4                         THE WITNESS:         Well, Mr.
 5                Monarch patently denies being
 6                involved in this PerformOutsider
 7                in any, way, shape or form other
 8                than the fact that this, you know,
 9                this I guess Ilya person is
10                someone different and that he
11                believes that he's proven this is
12                someone different than himself.
13                So I really do believe that anyone
14                that objectively looks at this
15                evidence here that we've found
16                through the discovery process, you
17                know, in this litigation would
18                find that Mr. Monarch is indeed
19                deeply involved.
20                         Mr. Monarch is somebody that
21                goes to great lengths to hide his
22                identity online.           For instance,
23                his advertising network Stealth
24                Media.      Right?      Stealth.       He likes
Golkow Technologies, Inc.                                            Page 98
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 6 of 10
                          Richard A. Gorman

 1                Q.       Are you familiar with this
 2      document?
 3                A.       I vaguely recall it.
 4                Q.       This is the First Amended
 5      Verified Complaint you filed against Ilya
 6      Syanov -- am I saying that right?                   Do you
 7      know how to pronounce that?
 8                A.       I don't.
 9                Q.       Okay.      So Ilya Syanov and
10      Karl F. Steinborn.
11                A.       John Doe 1, John Doe 2 and
12      John Doe 3.
13                Q.       Right.      Let's look at
14      Paragraph 16.         Can you read that please
15      aloud?
16                A.       On or about July 29, 2013,
17      an article appeared on the website
18      PerformOutsider.com which contained
19      numerous erroneous statements concerning
20      criminal activity and Plaintiff Gorman,
21      see PerformOutsider.com/2013/07/29/
22      richard-gorman-aka-directresponse-net-
23      criminal-past, period.              A true an
24      accurate copy of the July 29th, 2013
Golkow Technologies, Inc.                                            Page 115
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 7 of 10
                          Richard A. Gorman

 1      know what Mr. Montgomery would testify
 2      to, I don't know whether, you know, the
 3      veracity or mendacity of Mr. Montgomery,
 4      what he would say, however -- yeah, I
 5      just don't know what his testimony would
 6      be.
 7                Q.       I'm going to ask you a
 8      hypothetical question.              They're probably
 9      going to object but I'm going to ask you
10      anyway.      If I were to get all these
11      people together and parade them into the
12      courtroom and get them up there one after
13      the other and talk about how they had
14      dinner with this guy and his name is Ilya
15      and they went out with him for drinks,
16      showed I.D., blah, blah, blah, would you
17      still believe that Mr. Monarch and Ilya
18      is the same person?
19                         MR. CROSS:        Objection.
20                         THE WITNESS:         Absolutely.
21      BY MR. WARNER:
22                Q.       You would?
23                A.       Uh-huh.
24                Q.       Wow!     Okay.
Golkow Technologies, Inc.                                            Page 124
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 8 of 10
                          Richard A. Gorman

 1                A.       It does.
 2                Q.       Okay.      Did you help your --
 3      did you verify the answers to these
 4      Request for Admissions?
 5                A.       I believe so.
 6                Q.       Let's look at Request Number
 7      2.    It's on Page 2.          It says that admit
 8      that Ilya and Monarch is not the same
 9      person.      And can you read where it starts
10      "as indicated above"?              Do you see where
11      that is?       You can read the whole response
12      if you'd like.
13                A.       Which one are you pointing
14      to?
15                Q.       Sure.      This is the response.
16                A.       Okay.      You want me to start
17      reading here?
18                Q.       Yeah.
19                A.       Sure.      2:    Admit that Ilya
20      and Monarch is not the same person.
21                         Response:        Plaintiff is
22      without sufficient information or
23      personal knowledge to admit or deny this
24      request.       Plaintiff has made a reasonable
Golkow Technologies, Inc.                                            Page 235
  Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 9 of 10
                          Richard A. Gorman

 1      inquiry, and information known or readily
 2      obtainable by Plaintiff is insufficient
 3      to enable him to admit or deny this
 4      Request.       As indicated above, Plaintiff
 5      believes and is informed that Monarch and
 6      Ilya are separate persons; this person
 7      (sic) is based in part on Monarch's own
 8      discovery responses and his action;
 9      however, this belief is not based on
10      Plaintiff's personal knowledge.
11                Q.       Is this correct?
12                         MR. RILEY:        Objection to the
13                form of the question.              I'll allow
14                the witness to respond.
15                         MR. CROSS:        Join.
16                         THE WITNESS:         Plaintiff is
17                without sufficient information or
18                personal knowledge to admit or
19                deny this request; plaintiff has
20                made a reasonable inquiry and
21                information known or readily
22                obtained by Plaintiff is
23                insufficient to enable him to
24                admit or deny this request.
Golkow Technologies, Inc.                                            Page 236
 Case 2:20-cv-04759-CMR Document 13-7 Filed 04/27/21 Page 10 of 10
                          Richard A. Gorman

 1                         I believe that at the time,
 2                as indicated above, Plaintiff
 3                believes and is informed that
 4                Monarch and Ilya are separate
 5                persons, this belief -- this
 6                belief is based in part on
 7                Monarch's own discovery responses
 8                in this action; however, this
 9                belief is not based on Plaintiff's
10                personal knowledge.
11                         That's correct.
12     BY MR. WARNER:
13                Q.       That's correct?
14                A.       Yes, as of that time.
15                Q.       As of that time?
16                A.       Yes.
17                Q.       Okay.     What have you learned
18     since then that would change your belief?
19                A.       Sure.     Well, you know, I've
20     spent significant time with counsel in
21     this case.
22                         MR. CROSS:        I just want to
23                make sure you're not revealing
24                things that counsel and you have
Golkow Technologies, Inc.                                            Page 237
